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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 GETTY IMAGES (US), INC.,                            )
                                                     )
                                Plaintiff,           )
                                                     )
                v.                                   )         C.A. No. 23-135 (JLH)
                                                     )
 STABILITY AI, LTD., STABILITY AI,                   )
 INC., and STABILITY AI US                           )
 SERVICES CORPORATION,                               )

                                Defendants.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to D. Del. LR 7.1.4, Plaintiff Getty Images (US), Inc. (“Getty Images”)

respectfully requests oral argument on Defendants’ Renewed Motion to Dismiss (D.I. 45) and

Defendants’ Renewed Motion to Transfer (D.I. 48) (collectively, the “Motions”). The Motions

were filed on July 29, 2024, and briefing is now complete (D.I. 46, 49, 54, 55, 58, 59). Counsel

for Getty Images are available at the Court’s convenience for a hearing on the Motions.

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 26, 2024, a copy of the foregoing

document was served on the counsel listed below in the manner indicated:


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